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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------ x Chapter ll

Case No.: 8-17-71200 (ast)
In re:

TANJU NUREL,
Debtor. .
____________________________________ x
MEMORANDUM OF LAW IN RESPONSE TO DEBTOR’S MEMORANDUM
DATED NOVEMBER 15, 2017 IN FURTHER SUPPORT OF HIS FATALLY
DEFEC'I`IVE MOTION TO ASSUME THE NONRESIDENTIAL LEASE BETWEEN
THE DEBTOR AND 226 EAST MONTAUK HIGHWAY CORP.

PRELIMINARY STATEMENT
226 East Montauk Highway Corp. by and through its attomeys, Meltzer, Lippe, Goldstein &

Breitstone, LLP respectfully submits the following memorandum of law on behalf of 226 East
Montauk Highway Corp. (the “Landlord”) pursuant to the Contested l\/Iatter Scheduling Order of this
Court filed on October 24, 2017 (Docket 80) in response to the memorandum of law and Macco Aff.
in Support flled by the Debtor on November 15, 2017 (Docket 82) in further support of his fatally
defective motion (Docket 59) seeking this Court’s approval to assume the unexpired nonresidential
lease between the Debtor and the Landlord dated May ll, 2011 (the “Lease”) for the premises

located at 226 East Montauk Highway, Hampton Bays, NY (the “Leasehold Premises”).

Fatal to the Debtor’s unsupported motion are: (i) his failure to properly move to assume
assume the Lease, mandating the immediate denial of his motion; (ii) his complete and utter
utter failure to comply with the requirement of Bankruptcy Rule 9013 to “state with
particularity the grounds” for his motion to assume the Lease; (iii) his complete and utter

failure to satisfy the standards that must be satisfied before an Order can be issued granting
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granting his motion to assume; and (iv) the fact that the motion is untimely given that the plain
plain language of the statute at issue (and its legislative history) requires that an Order be
issued deciding the motion to assume before the deadline fixed by this Court to assume the
Lease expired on September 22, 2017 - - a conclusion mandated by the Supreme Court in cases
cases addressing how the Bankruptcy Code must be interpreted. Each of these points are
independently fatal to the Debtor’s motion. Moreover, the Debtor’s operating reports filed with this
this Court and the schedules to his bankruptcy petition establish that his motion was made in bad
faith to delay his eviction from the subject leasehold as long as possible, by all means possible.
The Debtor’s motion must be summarily denied.

THE DEBTOR FAILED TO PROPERLY MOVE TO ASSUME THE LEASE;
WHICH MANDATES THE SUMMARY DENIAL OF THAT MOTION

Bankruptcy Rule 6006(a) provides that a proceeding to assume a lease is governed by
Bankruptcy Rule 9014. Bankruptcy Rule 9014(b) requires that “[t]he motion shall be served in the
manner provided for service of a summons and complaint by Rule 7004 and within the time
determined under Rule 9006(d).” Rule 7004(3), in turn, requires that service upon the corporate
Landlord be made “by mailing a copy of the [motion] to the attention of` an officer, a managing or
general agent. . .” (emphasis added).

As evidenced by the affidavits of service relating to: (i) the Debtor’s initial motion to assume
assume filed on August 15, 2007 (Docket 59 - annexed as Ex. “E” to the Macco Aff.); and (ii) the
the Debtor’s Supplemental Motion to Assume filed on October l l, 2017 (Docket 72 - annexed as Ex.
Ex. “F” to the Macco Aff.) that are attached as part of those exhibits to the Macco Affidavit in

Support filed on November 15, 2017 (Docket 82), the Debtor’s service of his motion to assume did

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did not comply with Bankruptcy Rule 7004(3) because he did not mail that motion to the attention of
attention of “an officer, a managing or general agent” of the Landlord as required. Instead, as the
Debtor’s affidavits of service evidence, the motion and supplemental motion were mailed only to the
the Landlord generally. See Exhibits “E” and “F” to the Macco Aff.

The Debtor’s service of his motion in this manner is insufficient as a matter of settled law.
See, e.g., In re Berkline/BenchCraft Holdings, LLC, 2013 WL 4478672, at *4 (Bankr. D. Del. Aug.
6, 2013)(“Service on an agent corporation without directing the mailing to an officer or appropriate
individual at that agent is insufficient under Rule 7004(b)(3). [citing] See, e.g., Savage & Assocs.,
P.C. v. 1201 ()wner C()rp. (In re Teligent, Inc.), 485 B.R. 62 (Bankr.S.D.N.Y.ZOl3)(lrolding that
mailing the summons and complaint to corporate agent without directing it to anyone in particular
violates Rule 7004(b)(3)”). The Court in the case of In re Teligent Inc. held that "service not directed
to the attention of anybody in particular is not sufficient” citing In re GST Telecom, Inc., No. 00-
1082 GMS, 2002 WL 1737445, at *6 (D. Del. July 29, 2002)(quoting In re Ass'n of Volleyball
Pro_/'ls, 256 B.R. 313, 317 (Bankr.C.D.Cal.2000)); accord In re Starlire Houseboats, Inc., 426 B.R.

375, 382 n. 6 (Bankr.D.Kan.2010)”. In re Teligent, supra, 485 B.R. at 68-69.

As noted in the Sun Healthcare case quoted by the Court in the Berkline/BenchCraf!
Holdings, LLC decision, "failure to address the service of process to the attention of an officer or
agent violates the statutory requirements of Bankruptcy Rule 7004(b)(3) [because] notice must
must comply with the literal requirements of Bankruptcy Rule 7004(b)(3).” Sun Healthcare Group v.
Group v. Mead.]ohnson Nutritional, 2004 ML 941 190, at *2 (chkr. D. Del. 2004). The reason why

why strict compliance with the "literal requirements” of Bankruptcy Rule 7004 is mandated, is

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because the use of the abbreviated procedure of service by mail “requires a higher standard of care
care when serving a party defendant”. In re Sheppard, 173 B.R. 799, 805 (Bankr. N.D. Ga. 1994); In
1994); In re Barry, 330 B.R. 28, 33 (Bankr.D.l\/lass. 2005)(same); Golden v. The Guardian (In re
Len()x Healthcare, Inc.), 319 B.R. 819, 822 (Bankr.D.Del.2005)(“Because nationwide service of
process by first class mail is a rare privilege which should not be abused or taken lightly, courts have
have required strict compliance with Rule 7004(b)(3).(internal citation omitted)”).

As this Court has stated, “[a] bankruptcy court's power to adjudicate the rights and liabilities
of a defendant is dependent not only on compliance with due process, but also on compliance with
the technicalities of Bankruptcy Rule 7004.” In re Cruz`sephone, Inc., 278 B.R. 325, 334 (Bankr.
E.D.N.Y. 2002). Indeed, even "a defendant's actual knowledge of a pending lawsuit is no substitute

for proper service [cites omitted]”. Citizens Bank v. Decena, 562 B.R. 202, 210 (E.D.N.Y. 2016).

Since the Debtor here failed to serve his Motion to Assume (and his Supplemental Motion to
Assume) to the attention of an officer, or managing or general agent of the corporate Landlord as
required by Bankruptcy Rule 7004(3), his motion must be dismissed/denied on this basis alone. But
this is not the only defect that is independently fatal to the Debtor’s motion.

THE DEBTOR’S FAILURE TO STATE WITH PARTICULARITY
THE GROUNDS FOR HIS MOTION TO ASSUME MANDATES
THE SUMMARY DENIAL OF THAT MOTION

As noted above, Bankruptcy Rule 6006(a) provides that a proceeding to assume a lease is

governed by Bankruptcy Rule 9014. Bankruptcy Rule 9014 in turn provides that relief shall be

sought by motion; which Bankruptcy Rule 9013 requires “state with particularity the grounds

therefor”.

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Here, the Debtor did not even attempt to satisfy this requirement

Put simply, before the Court can even consider whether the Debtor’s motion must be denied
because it was not decided before the bright line deadline fixed by this Court and the Bankruptcy
Code to assume the 201 l Lease at issue, the Court must first find that the Debtor made a good faith
motion to assume that is not required to be denied on its face. Here, the Debtor’s motion is required
to be denied on its face.

As the Debtor admitted in his motion to assume (Docket 59 - annexed as Ex. “E” to the
Macco Aff.), he cannot assume the Lease at issue unless he: “(A) cures or provides adequate
assurance that the trustee (or debtor-in-possession) will promptly cure such default . . .; (B)
compensates or provides adequate assurances that the trustee (or debtor-in-possession) will promptly
compensate a party other than the debtor to such contract or lease, for any actual pecuniary loss to
such party resulting from the default; and (iii) provides adequate assurances of future performances
under such contract or lease. See id. quoting Bankruptcy Code § 365(b)(1).

The Debtor’s motion does not state anywhere “with particularity” how the Debtor can satisfy
satisfy or has satisfied each of the requirements of Bankruptcy Code § 365(b)( l) he admitted needing
needing to satisfy in his motion. See id. lndeed, the Debtor conceded this defect as to the first of the
the requirements set forth in Bankruptcy Code § 365(b)(l) in his motion when he stated that he
“intends to supplement this Motion” when the amount of pre-petition rent and additional rent due the

the Landlord is determined by the Southampton Justice Court'. id. at il 23.

 

' The Debtor, however, is not permitted to do so under well established caselaw. It is well

settled that “arguments may not be made for the first time in a reply brief.” MPD Accessories B. V. v.

Urban Outfz`tters, No. 12 Civ. 6501 , 2013 WL 7211833, at *2 n.4 (S.D.N.Y. Dec. 17, 2013) (quoting
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As the Court is aware, the amount claimed due by the Landlord in his nonpayment
proceeding in Southampton Justice Court is approximately $400,000; an amount that the Debtor’s
Debtor’s counsel previously conceded in open court the Debtor is not able to “cure”. ln his motion,
motion, the Debtor admitted that “based on the Cure Amount ultimately determined by the Justice
Justice Court, the Debtor may seek to assign the lease to Tam, (NY)” [because] “Tam . . . may be in
in a better position to assume the Lease if the Cure Amount is determined to be higher than the
Debtor individually is capable of curing”. Id. at 111 30, 31. When this Court directed the Debtor to
specify whether he intended to assume the Lease individually or instead seek to assume and assign it
assign it to Tam, NY, the Debtor stated that he seeks to assume the Lease individually. See Debtor’s

Debtor’s Supplemental Motion to Assume at1| 34 annexed as Exhibit “F” to the Macco Aff. which

 

Knipe v. Skinner, 999 F.2d 708, 71 l (2d Cir.l993)). “Nor may entirely new but foreseeable points
relevant to a motion be presented in a reply affidavit . . . Such a procedure is foreign to the spirit and
objectives of the Federal Rules of Civil Procedure. See generally, e.g., Fed.R.Civ.P. l, 12, 26, 56.
Were tactics of this type to be permitted, a sur-reply affidavit would be necessary from the adversary,
followed by a further supplemental response by the moving party, and so on ad infinitum.” Tetra
Techs., Inc. v. Harter, 823 F. Supp. 1 l 16, 1120 (S.D.N.Y. 1993); see also United S!ates v. E. River
Hous, Corp., 90 F. Supp. 3d 118, 162 (S.D.N.Y. 2015) (collecting cases that arguments made for
first time on reply are not properly considered); In re Beinhauer, 570 B.R. 128, 134 (Bankr.
E.D.N.Y. 2017) at n. 9 citing In re Jensen, No. 09-14830 (MG), 2010 WL 424693, at *2 (Bankr.
S.D.N.Y. Feb. 3, 2010) (citing Ernst Haas Studio, Inc. v. Palm Press, Inc., 164 F.3d 110, l 12 (2d
Cir. 1999)); Int'l Elecs., Inc. v. Media Syndication Global, Inc., No. 02 Civ. 4274 LAK, 2002 WL
1897661, at *3 n.2 (S.D.N.Y. Aug. 17, 2002) (“Arguments first advanced in reply memoranda are
not properly considered”) and U.S. Underwrilers Ins. Co. v. Falcon Constr. Corp., No.02-CV-4182
(CSH), 2006 WL 3146422, at *3 (S.D.N.Y. Oct. 30, 2006)(New arguments raised in reply briefs
deny the opposing party an opportunity to properly respond to such arguments).
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was filed M the deadline to assume or reject had expired. (Docket 72).

In neither of these filings did the Debtor: (A) contend that he has cured his defaults under the
2011 Lease at issue or provided adequate assurance that he could do so; (B) contend that he could
compensate or provide adequate assurance that he will promptly compensate the Landlord as to the
pecuniary losses caused to the Landlord by the Debtor’s default under the 201 l Lease at issue; and
(C) provide adequate assurance of future performance under the terms of the Lease. His failure to do
so mandates denial of the Motion on these grounds alone. See In re M. Fine Lumber Co., lnc. , 383
B.R. 565 (Bankr. E.D.N.Y. 2008) and ll U.S.C. § 365(b)(1). In sum, the Debtor does not state With
particularity in either his motion or in his untimely and improper “Supplemental Motion” his
grounds for satisfying these mandatory requirements of the Bankruptcy Code that must be satisfied in

order for the Lease to be assumed. See Exhibits “E” and “F” to Macco Aff.

The Debtor’s failure to state with particularity the grounds of his motion means that he failed
failed to satisfy Bankruptcy Rule §365(d)(4) as to the assumption of the Lease prior to the expiration
expiration of the deadline fixed therein for that to occur or the Lease is deemed rejected as a matter
matter of law thereunder. See Sea Harvest Corp. v. Riviera Land Co., 868 F.2d 1077 (9“‘ Cir.
1989)(“for a document to qualify, it must fit the definition of a motion under the Bankruptcy Rules to
Rules to satisfy section 365(d)(4)”)2. In other words, it is not sufficient, as was done by the Debtor
Debtor here, to file a bare-bones, placeholder document entitled “motion” which fails to state the

grounds for his request that the Court allow him to assume the Lease (much less “with particularity”

 

2 This Court will note that the Debtor cited Sea Lana’ for support in his memorandum of law in
support
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as required by the Bankruptcy Code to make a motion), to satisfy the deadline fixed by section
365(d)(4) to assume the Lease or have it deemed rejected as a matter of law3.

The Debtor’s motion to assume must therefore be denied on this independent ground as well.

THE DEBTOR’S COMPLETE AND UT'I`ER FAILURE TO SATISFY
THE STANDARD NECESSARY TO GRANT A MOTION TO ASSUME
REQUIRES THE SUMMARY DENIAL OF THAT MOTION

The Debtor completely and utterly failed to satisfy the standard necessary for his motion to
assume to be granted In fact, the Debtor did not even attempt to do so. The Debtor does not contend
in either his Motion to Assume or in his untimely and improper Supplemental Motion, much less
adduce any evidence in suppoit, that he has “(A) cure[d] or provide[d] adequate assurance that [he]
Will promptly cure such default . . .; (B) compensate[d] or provide[d] adequate assurances that [he]
will promptly compensate [the Landlord] for any actual pecuniary loss to such party resulting from
the default; and (iii) provide[d] adequate assurances of future performances under [the Lease]”. See
Bankruptcy Code § 365(b)(1) and compare to the Debtor’s Motion and Supplemental Motion
(Exhibits “E” and “F”, respectively to the Macco Aff.).

No such contentions are made by the Debtor, and no evidence of same is attached to his
Motion and Supplemental Motion, because no such contentions can be made and no evidence can be

adduced to support any such contentions even if they were made, which they were not.

The fact that the Debtor cannot satisfy the standard for his motion to assume to be granted is

 

3 This of course assumes arguendo for the purposes of this point that the mere filing of a motion
to assume that states with particularity the grounds for that motion prior to the deadline set forth
in Section 365(d)(4) would satisfy that statute - - it does not for the reasons more fully set forth
infra.

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is irrefutany evidenced by, inter alia, the Operating Reports he filed with this Court compared to the
schedules annexed to his bankruptcy petition setting forth the monthly income and expenses of his
household The Schedules annexed to the Debtor’s bankruptcy petition (Docket 1) note that his
household income was $4,859.22 ~per month while his household expenses were $4,839.00 per
month. See Exhibits “l ” and “2” to the accompanying McGowan Aff. The Debtor’s monthly
household expenses reported on his petition schedules did n_ot include the amounts due the Landlord
Landlord under the terms of the Lease. See Exhibit “1” to the accompanying McGowan Aff.

The Operating Reports filed by the Debtor to date evidence that his monthly income and the

amount in his DIP bank account since the filing of his petition were as follows:

 

 

Debtor’s Monthlv Income DIP Bank Account Balance
March, 2017: NONE $ 5,076.00 (Docket 23)
April, 2017: $1,800 $11,324.95 (Docket 35
May, 2017: NONE 8 2,554.14 (Docket 45)
June, 2017: $1,912.10 $ 3,994.24 (Docket 54)
July, 2017: NONE $ 376.31 (Docket 60)
August, 2017: $1,371.00 $ 276.67 (Docket 66)
September, 2017: 81,027.25 $ 1,082.20 (Docket 75)
October, 2017: $ 342.25 $ 558.63 (Docket 83)

See Exhibits “3” to “10”, respectively to the McGowan Aff.
In short, as evidenced thereby and by his income and expense schedules annexed as Exhibit
Exhibit “1” to the McGowan Aff., the Debtor has received less income on average per month after

after filing for bankruptcy (i.e. $806.57 per month) than before he filed his bankruptcy petition. At
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the same time, his household expenses have undoubtedly increased (e.g. property taxes on his home
alone) as did the rent and additional rent due under the Lease (e.g. the 3 l/z% per annum increase in
rent alone effective June lst of each year including in 2017 [see Exhibit “a” to Exhibit “E” to Macco
Aff. at Article 3.2], and increases in property taxes on the Leasehold Premises). As established by
just this evidence alone, the Debtor cannot: “(A) cure[] or provide[] adequate assurance that [he] will
promptly cure such default . . .; (B) compensate[] or provide[] adequate assurances that [he] will
promptly compensate [the Landlord] for any actual pecuniary loss to such party resulting from the
default; and (iii) provide[] adequate assurances of future performances under [the Lease]”. See
Bankruptcy Code § 365(b)(1).

'I`he Debtor has also defaulted under other provisions of the Lease that are not capable of
being “cured” but are required to be “cured” before this Court could grant his motion to assume.
These provisions include, but are not limited to, his default in sub-leasing the Leasehold Premises
without first obtaining the Landlord’s required written consent to same. See Exhibit “a” to Exhibit
“E” to the Macco Aff. at Article 32 thereof and the admission of the sub-leasing which violates the
Lease at paragraph 7 of the Macco Aff. (Docket 82).

Other defaults include his failure to remit the security deposit required by the Lease to be paid
on the date of its commencement equal in amount to two months of rent and additional rent as
required by the Lease; and also to maintain insurance by a NY insurer as required by the Lease. See
id. at Articles 21 and 20.

The fact that the Debtor’s motion to assume does not identify or address his various defaults;
defaults; nor states how he “cured” them; nor states the grounds for his providing “adequate

assurances” of, inter alia, his future performance under the Lease; establishes that his bare-bones,

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non-particularized motion is defective on its face.

Based on the foregoing, the Debtor’s motion to assume must be denied on this basis as well.

THE DEBTOR’S FAILURE TO OBTAIN AN ORDER GRANTING HIS MOTION
TO ASSUME THE LEASE BEFORE THE SEPTEMBER 22, 2017 DEADLINE
FIXED BY THIS COURT FOR HIM TO ASSUME OR REJECT THE LEASE

MANDATES THE DECLARATION THAT THE LEASE IS DEEMED REJECTED

AS A MATTER OF LAW

The Debtor filed his bankruptcy petition on March 2, 2017. See Exhibit “B” to McGowan
Aff. (Docket No. 1). At the time of his filing, the Debtor was the lessee under the unexpired
nonresidential Lease for the Leasehold Premises dated May 1 1, 201 1. See Exhibit “a” to Exhibit “E”
to the Macco Aff. (Docket 82). Pursuant to 1 1 U.S.C. § 365(d)(4), the Debtor had to assume or reject
the Lease for the Leasehold Premises within 120 days of March 2, 2017 or it was deemed rejected as
a matter of law and he Would be required to immediately surrender possession of the Leasehold
Premises to the Landlord.

11 U.S.C. § 365(d)(4)(A) provides that “an unexpired lease of nonresidential real property
under which the debtor is the lessee shall be deemed rejected, and the trustee shall immediately
surrender that nonresidential real property to the lessor, if the trustee does not assume or reject

the unexpired lease by the earlier of - (i) the date that is 120 days after the date of the order for

relief; or (ii) the date of entry of an order confirming a plan” (emphasis added).

11 U.S.C. § 365(d)(4)(B) provides that “(i) [t]he court may extend the period determined

under subparagraph (A), prior to the expiration of the 120-day period, for 90 days on the motion of

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of the trustee or lessor for cause. (ii) If the court grants an extension under clause (i), the court may
may grant a subsequent extension only upon the prior written consent of the lessor in each instance.”
instance.”

By Order dated June 27, 2017, 117 days after the Debtor filed his Bankruptcy petition, this
this Court issued an Order (Docket No. 51) granting the Debtor’s motion for an extension of time to
to assume or reject the lease at issue until on or before August 9, 2017. See the true copy of this
Order annexed as Exhibit “C” to Macco Aff. (Docket No. 82). By Order dated August 9, 2017, this
this Court issued a second Order4 (Docket No. 57) further extending the Debtor’s time to assume or
or reject the lease at issue until on or before September 22, 2017. See the true copy of this Order
annexed as Exhibit “D” to Macco Aff. (Docket No. 82). The wording of both Orders extending the
the time to assume is significant in that each comports with the statutory mandate set forth in 11
U.S.C. 365(d)(4) by providing Lly that an extension of time was being granted “for the Debtor g)_
to assume or reject unexpired leases of non-residential real property”. See Exhibits “C” and “D” to
to Macco Aff. (emphasis added). These Orders did not state that the deadline for the Debtor to obtain
obtain an Order allowing him to assume the Lease was being extended as is required by the
Bankruptcy Code for the Lease to actually be assumed. See id. and 11 U.S.C. §365(a) - - the latter

latter being discussed more fully below.

 

4 lt is not clear that more than one motion for an extension of time to assume the Lease could be
granted. See Debartolo Properties Management, Inc. v. Devan, 194 B.R. 46, 50 (D.Md. _
l996)(stating that ‘[i]t is not at all clear to this Court that § 364(d)(4) [sic - s/b 365] does, in fact,
permit successive extensions of the time to assume or reject lease” but declining to rule on the
issue because it was not presented on that appeal). This is yet another basis for this Court to
conclude that the Lease has been rejected as a matter of law when it was not assumed by the
August 9th deadline set forth in the Court’s first extension Order.

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At no time did the Debtor request that this Court conduct a hearing and issue an order on his
motion to assume prior to the expiration of the September 22, 2017 deadline fixed by this Court’s
August 9, 2017 second extension Order and the Bankruptcy Code for him to assume or reject the
Lease.

The foregoing facts mandate a declaration by this Court that the Lease was deemed rejected
by operation of l l U.S.C. § 365(d)(4)(A) as of September 23, 2017.

While the Debtor contends that the “majority” of cases considering the issue before and after
the 2005 revision of Section 365(d)(4) of the Bankruptcy Code have held that the mere making of a
motion to assume before the deadline is sufficient to satisfy that statute, not only is the statue clear in
the plain meaning of its words that this is not correct, but Congress made it clear in its legislative
history as to the 2005 Revision to Section 365(d)(4) of the Bankruptcy Code that the deadline fixed
under that section for the issuance of an Order approving the assumption of a lease is a “firm, bright
line deadline” that must be met or any unexpired nonresidential lease such as the Lease at issue must
be deemed rejected as a matter of law. Put another way, the mere filing of a motion to assume is not
sufficient to satisfy the requirement fixed by Congress in Section 365(d)(4) of the Bankruptcy Code
for the Debtor to “assume or reject” the Lease at issue no later than, at most, 210 days after the filing

of his bankruptcy petition.

The legislative history of the 2005 Revisions to the Bankruptcy Code is critical here. The full
text of the relevant “Section-by-Section Analysis and Discussion” reads:

Executory Contracts and Unexpired Leases. Subsection (a) of section 404 of the Act
Act amends section 365(d)(4) of the Bankruptcy Code to establish a firm, bright
bright line deadline by which an unexpired lease of nonresidential real property

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property must be assumed or reiected. If such lease is not assumed or rejected
rejected by such deadline, then such lease shall be deemed rejected, and the
trustee shall immediately surrender such property to the lessor, Section 404(a)
404(a) permits a bankruptcy trustee to assume or reject a lease on a date which is the
the earlier of the date of confirmation of a plan or the date which is 120 days after the
the date of the order for relief. An extension of time may be granted, within the 120
120 day period, for an additional 90 days, for cause, upon motion of the trustee or
lessor, Any subsequent extension can only be granted by the judge upon the prior
written consent of the lessor either by the lessor's motion for an extension or on
motion of the trustee, provided that the trustee has the prior Written approval of the
the lessor. This provision is designed to remove the bankruptcy judge`s discretion to
to grant extensions of the time for the retail debtor to decide whether to assume or
reject a lease after a maximum possible period of 2 1 0 days from the time of entry of
of the order of relief. Beyond that maximum period, the judge has no authority to
grant further time unless the lessor has agreed in writing to the extension.

H.R. REP. 109-31(1), 86-87, 2005 U.S.C.C.A.N. 88, 152-53 (emphasis added).

A debtor cannot actually assume “an unexpired lease of nonresidential real property” unless
unless and until a Bankruptcy Court issues an Order approving that assumption See ll U.S.C.
§365(a) - - “ . . . the trustee, subject to the court’s approval, may assume or reject any executory
contract or unexpired lease of the debtor.” (emphasis added). Thus, the Debtor’s mere making of a
a motion to assume is not the same as the Debtor actually assuming the Lease which requires an
Order from this Court approving an assumption as the statute requires be done by the statutory
deadline or be deemed rejected thereunder 1 l U.S.C. §365(d)(4); see also In re Southampton Yen
Yen Rest. Grp. LLC, No. 09-13874, 2009 WL 3925563, at *3 (Bankr. S.D.N.Y. Nov. 16, 2009)
(citing various authorities that “[s]ection 404 of the Act amends section 365(d)(4) of the Bankruptcy
Bankruptcy Code to establish a firm, bright line deadline by which an unexpired lease of
nonresidential real property must be assumed or rejected. . . . lt is now clear that any order extending

extending the initial 120-day period must be entered before the expiration of the deadline, . . . By

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negative implication, the court lacks the authority to extend the period [under § 365(d)(4) ] once the
the initial 120-day period has expired.”).

IfCongress wanted the mere filing of a motion to assume to satisfy Section 365(d)(4) of the
Bankruptcy Code, it could have easily written that section to provide that: “an unexpired lease of
nonresidential real property under which the debtor is the lessee shall be deemed rejected, and the
trustee shall immediately surrender that nonresidential real property to the lessor, if the trustee does
not “MOVE TO” assume or reject the unexpired lease by the earlier of - (i) the date that is 120 days
after the date of the order for relief; or (ii) the date of entry of an order confirming a plan.” Congress
obviously knew that a Debtor could not assume a Lease without the Bankruptcy Court issuing an
Order approving that assumption under 1 1 U.S.C. §365(a), yet did not state in its revision of Section

365(d)(4) that a mere motion to assume would satisfy that section.

In sum, the plain meaning of the words used by Congress in writing the 2005 revision to
Section 365(d)(4) requires that a debtor not only move to assume a lease but that the Bankruptcy
Court issue an Order approving that assumption before the deadline under that section expires in
order for the lease at issue not to deemed rejected.

As has been noted, the Supreme Court has made it clear that “when a provision has a
plain meaning judges are to apply it and not otherwise explicate the Code”. In re Horwitz, 167
B.R. 237, 239 (Bankr. W.D.OK. 1994) (citing, inter alia, Midlantic National Bank v. New Jersey
Department of Environmental Protection, 474 U.S. 494 (1986); Kelly v. Robinson, 479 U.S. 35
(1986); U.S. Ron Pair Enterprises, Inc., 489 U.S. 235 (1989); Rake v. Wade, 508 U.S. 464

(1993)). As the Horwitz Court explained, “while judges might crave the freedom to always

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decree what is equitable and socially useful in the cases before us the Supreme Court says that we
do not possess it when a statute of rule provides clear direction”. id. at 241.

The Debtor’s motion to assume must therefore be denied on this independent basis as well.

THE DEBTOR MUST BE DIRECTED TO IMMEDIATELY
SURRENDER POSSESSION OF THE LEASEHOLD PREMISES
UPON THE LEASE BEING DEEMED REJECTED

Upon the deemed rejection of the Lease following the expiration of the September 22, 2017
deadline fixed by this Court and the Bankruptcy Code for the Debtor to assume the Lease, this Court
must also direct the Debtor, and anyone claiming by or through him, to immediately surrender the
Leasehold Premises to the Landlord. See 11 U.S.C. § 365(d)(4) (“the trustee shall immediately
surrender that nonresidential real property to the lessor” if the trustee does not assume the lease
before the statutorily fixed deadline expires).

CONCLUSION

Based on all of the foregoing, legally independent reasons, the Landlord respectfully requests
that this Court immediately deny the Debtor’s motion in its entirety and grant such other and further
relief as the Court deems just and proper in the circumstances
Dated: Mineola, New York

December 5, 2017
Respectfully submitted,

Meltzer, Lippe, Goldstein & Breitstone, LLP
Attorneys for 226 Easl Montauk Highway Corp.

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MA`s J. McGo'WAN
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